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                                                Plaintiff is granted leave to pay the
                                                sanction on the schedule set forth herein.
                                                She shall provide payment to her
                                                counsel, who shall forward the payment
                                                within three business days to defense
                                                counsel. Defense counsel shall advise
                                                the Court of any missed payments.

                                                               SO ORDERED.




                                                               October 4, 2018
